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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                             JACKSON DIVISION



UNITED STATES OF AMERICA

VS.                                                   CRIMINAL NO. 4:01-CR-8BN

JAMES EARNEST FRYE, JR.



                              OPINION AND ORDER

        This cause is before the Court on the following Motions:

        1.     Motion of the United States to Deny Defendant’s Motions

               filed on October 12, 2005, [docket entry no. 377]; and

        2.     Motion of the United States to Preclude Pro Se Pleadings

               by Defendants [docket entry no. 392].

On October 12, 2005, and October 25, 2005, Defendant James Frye,

acting pro se, filed a total of twenty pleadings in this action.

Defendant’s       filings    were       wholly     irrational       and      made       no

ascertainable request for relief. In response, the United States

filed    a Cross-Motion to        strike     the     various   Motions       filed by

Defendant. The government contends that Defendant’s filing of a

Notice of Appeal of his conviction and sentencing on April 25,

2005, divested this Court of jurisdiction to entertain Defendants’

Motions.       The Court agrees with the United States. After a notice

of    appeal    is   filed   in   a    matter,     the   district       court    loses

jurisdiction and exclusive jurisdiction is vested in the court of

appeals. Winchester v. U. S. Attorney of the S. Dist. Of Tex., 68
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F.3d 947, 948-50 (5th Cir. 1996). Because this Court is without

jurisdiction, the Court must dismiss all motions made by Defendant

on October 12, 2005, and October 25, 2005.1

     The United States also moves the Court to preclude Defendant

from filing further pro se pleadings while represented by counsel.

The government is essentially requesting an injunction against

Defendant. Currently, Defendant is represented by Julie Epps on the

direct appeal of his conviction and sentence.

     As the United States Court of Appeals for the Fifth Circuit

has opined, “[a]s long as a criminal defendant is represented by

counsel, . . . due process does not require that a criminal

defendant be permitted to file every pro se motion he wishes to

submit in addition to his attorney’s motions.” Tarter v. Hury, 646

F.2d 1010, 1014 (5th Cir. 1981). In light of Defendants frivolous

pro se filings, the Court finds that, in the interest of judicial

economy, the relief requested by the United States is warranted.

     IT IS THEREFORE ORDERED that Motion of the United States to

Deny Defendant’s Motions filed on October 12, 2005, [docket entry

no. 377] is well taken and is hereby granted. The Motions filed by




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       The Motion of the United States to Deny Defendant’s Motions
was filed on October 14, 2005. That Motion only requested that the
Motions of Defendant filed on October 12, 2005, be dismissed. The
United States has not moved to dismiss those Motions filed by
Defendant on October 25, 2005. However, the Court, sua sponte,
dismisses the October 25, 2005, Motions of Defendant.

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Defendant on October 12, 2005, [docket entry nos. 361 and 363] are

hereby dismissed for want of jurisdiction.

     IT IS FURTHER ORDERED that the Motions filed by Defendant on

October 25, 2005, [docket entry nos. 380 and 382] are hereby

dismissed sua sponte for want of jurisdiction.

     IT IS FURTHER ORDERED that the Motion of the United States to

Preclude Pro Se Pleadings by Defendants [docket entry no. 392] is

well taken and is hereby granted. Defendant is ENJOINED from filing

further   pro   se    pleadings   in   this   matter     while     Defendant      is

represented by counsel. The Clerk of the Clerk is hereby ordered to

return    all   pro   se   pleading    to   Defendant,    undocketed,      while

Defendant is represented by counsel.             If Defendant wishes to no

longer be represented by counsel, Defendant may notify the Clerk of

the Court, by letter, of his desire to disassociate counsel and

proceed exclusively pro se. If Defendant notifies the Clerk of the

Court that he is no longer represented by counsel, the Clerk is

ordered to allow Defendant to resume filing pro se.

     SO ORDERED this the 14th day of November, 2005.



                                            s/ William H. Barbour, Jr.
                                            UNITED STATES DISTRICT JUDGE




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